                        IN THE SUPREME COURT OF THE STATE OF NEVADA


                 LESLIE MARK STOVALL D/B/A                           No. 68656
                 STOVALL &amp; ASSOCIATES,
                                  Appellant,
                              vs.
                 MARIA ORTIZ-CHAVEZ; AND ALMA
                 ORTIZ,
                                        Respondents.
                 LESLIE MARK STOVALL, D/B/A                          No. 69168
                 STOVALL &amp; ASSOCIATES,
                                   Appellant,
                               vs.
                 MARIA ORTIZ-CHAVEZ; AND ALMA
                                                                              FILED
                 ORTIZ,                                                       APR 0 5 2016
                                   Respondents.                             TRACIE K. LINDEMAN
                                                                         CLERK OF ;SUPREME COURT
                                                                         BY
                                     ORDER DISMISSING APPEALS                 DEPUTY CLERK



                            Cause appearing, appellant's motion for a voluntary dismissal
                 of these appeals is granted. These appeals are dismissed. NRAP 42(b).
                            It is so ORDERED.




                                                  CLERK OF THE SUPREME COURT
                                                  TRACE K. LINDEMAN

                                                  By




                 cc: Hon Linda Marie Bell, District Judge
                      Janet Trost, Settlement Judge
                      Stovall &amp; Associates
                      Injury Lawyers of Nevada
 SUPREME COURT
       OF             Eighth District Court Clerk
     NEVADA


CLERK'S ORDER

 (0)• 1947 ea.

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